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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION


 PATRICIA KENNEDY,                        :
                                          :
          Plaintiff,                      :
                                          :
 v.                                       :             CIVIL ACTION NO.
                                          :            4:20-CV-00069-LMM
                                          :
 SHRINATHJI-KRUPA, INC., a                :
 Georgia corporation d/b/a                :
 COUNTRY HEARTH INN & SUITES              :
                                          :
          Defendant.                      :


                                      ORDER

      This case is before the Court on Plaintiff Patricia Kennedy’s Motion for

Default Judgment [25]. Plaintiff asks the Court to grant default judgment against

Defendant Shrinathji-Krupa, Inc. (d/b/a Country Hearth Inn & Suites). After due

consideration, the Court enters the following Order.

I.    BACKGROUND

      On July 21, 2020, Plaintiff filed her Amended Complaint against

Defendant, seeking injunctive relief under Title III of the Americans with

Disabilities Act (“ADA”), 42 U.S.C. § 12181 et seq., to require Defendant to

provide accessibility information to “www.stayinns.com,” “www.booking.com,”

“www.priceline.com,” “in.hotels.com,” and “www.agoda.com” (collectively, the

“Websites”). Dkt. No. [19] ¶¶ 1, 8. Plaintiff is a Florida resident who is wheelchair
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bound and has limited use of her hands. Id. ¶ 1. Plaintiff alleges that “Defendant

owns, leases, leases to, or operates” the Country Hearth Inn & Suites (the

“Property”), which is located in Cartersville, Georgia. Id. ¶ 3. Plaintiff asserts that

because the Property is a place of public accommodation, Defendant must

comply with the requirements of 28 C.F.R. § 36.302(e). Id. ¶¶ 6–7. Section

36.302(e) requires a place of public accommodation “that owns, leases, (or leases

to), or operates a place of lodging shall, with respect to reservations made by any

means, including . . . through a third party . . . [i]dentify and describe accessible

features in the hotels and guest rooms offered through its reservations service in

enough detail to reasonably permit individuals with disabilities to assess

independently whether a given hotel or guest room meets his or her accessibility

needs.”

      Plaintiff alleges that on March 6, 2019, March 12, 2019, March 13, 2019,

March 14, 2019, and May 17, 2019, she attempted to access the Property’s

accessible features in the online reservation systems found at the Websites. See

id. ¶¶ 9, 11. Plaintiff states that she sought this information in order to “review[]

and assess[] the accessible features at the Property and ascertain whether they

meet the requirements of . . . Section 36.302(e) and her accessibility needs.”

Id. ¶ 9. When Plaintiff accessed the Websites on these dates, Plaintiff explains

that she was unable to view or access the Property’s accessible features. See id.

      Because Plaintiff was unable to ascertain the Property’s accessible features,

Plaintiff asserts that Defendant failed to provide the required accessibility


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information to the Websites in violation of § 36.302(e). Id. ¶ 8. Plaintiff thus

alleges that Defendant discriminated against her on the basis of her disability by

“depriv[ing] [her] of the same advantages, privileges, goods, services and benefits

readily available to the general public.” Id. ¶¶ 9, 12; see 42 U.S.C. § 12182(a).

Default was entered against Defendant on January 20, 2021, and Plaintiff moves

for a default judgment, seeking injunctive relief. See Dkt. Nos. [25, 27].

II.   LEGAL STANDARD

      Federal Rule of Civil Procedure 55 sets forth a two-step process for

securing default judgment. First, a party seeking default must obtain a Clerk’s

entry of default pursuant to Rule 55(a) by providing evidence “by affidavit or

otherwise” that the opposing party “has failed to plead or otherwise defend.” Fed.

R. Civ. P. 55; see also Frazier v. Absolute Collection Serv., Inc., 767 F. Supp. 2d

1354, 1360 n.1 (N.D. Ga. 2011) (“First the clerk must enter a party’s default . . .

[T]he party [seeking default judgment] must then apply to the court for a default

judgment.”). Second, after the Clerk has made an entry of default, the party

seeking default judgment must file a motion for default judgment under Rule

55(b)(1) or (2). A Clerk’s entry of default under Rule 55(a) is thus a prerequisite

for default judgment to be granted under Rule 55(b). Sun v. United States, 342 F.

Supp. 2d 1120, 1124 n.2 (N.D. Ga. 2004).

      A default entered pursuant to Rule 55(a) constitutes an admission of all

well-pleaded factual allegations contained in a complaint. Nishimatsu Const. Co.,




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Ltd. v. Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975).1 However, entry

of default does not automatically warrant the Court’s entry of default judgment.

Frazier, 767 F. Supp. 2d at 1362 (quoting Nishimatsu Const. Co., Ltd., 515 F.2d at

1206). Even if a defendant is in default, he “is not held to admit facts that are not

well-pleaded or to admit conclusions of law.” Id.; see also United States v. Khan,

164 F. App’x 855, 858 (11th Cir. 2006) (“[A] default judgment may not stand on a

complaint that fails to state a claim.”).

      Since entry of default constitutes an admission of the facts in a complaint,

“[a] default judgment must not differ in kind from, or exceed in amount, what is

demanded in the pleadings.” Fed. R. Civ. P. 54(c). Moreover, a defaulted

defendant does not admit to allegations relating to the amount of damages.

Frazier, 767 F. Supp. 2d at 1365. Therefore, before entering a final order

regarding a default judgment a court may conduct a hearing to determine the

amount of damages. Fed. R. Civ. P. 55(b)(2)(B). However, “[a]n evidentiary

hearing is not a per se requirement” for an entry of default judgment pursuant to

Rule 55(b)(2) because said Rule “speaks of evidentiary hearings in a permissive

tone.” SEC v. Smyth, 420 F.3d 1225, 1232 n.13 (11th Cir. 2005); Fed. R. Civ. P.

55(b)(2) (explaining that “[t]he court may conduct hearings or make referrals” to

determine damages (emphasis added)). “District courts in the Eleventh Circuit




1In Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), the
Eleventh Circuit adopted as binding precedent all decisions of the former Fifth
Circuit handed down prior to October 1, 1981. Id. at 1209.

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have noted that an evidentiary hearing is not necessary where the moving party

has provided supporting affidavits as to the issue of damages.” Frazier, 767 F.

Supp. 2d at 1365.

III.   DISCUSSION

             A.     Liability

       The Court must first determine whether Plaintiff adequately pled

discrimination under Title III of the ADA. Title III prohibits discrimination in

places of public accommodation, including hotels and motels, on the basis of

disability. 42 U.S.C. §§ 12181(7)(A), 12182(a). To prove a discrimination claim

under Title III, a plaintiff must show that: (1) she is disabled within the meaning

of the ADA; (2) the defendant owns, leases, or operates a place of public

accommodation; and (3) defendant discriminated against her within the meaning

of the ADA. Id. § 12182(a).

       The Court finds that Plaintiff has satisfied these three elements. Plaintiff

states in her First Amended Complaint that she is disabled within the meaning of

the ADA because she is “bound to ambulate in a wheelchair or with a cane or

other support and has limited use of her hands.” Dkt. No. [19] ¶ 1. Plaintiff also

alleges that Defendant “owns, leases, leases to, or operates” the Property, which is

a place of public accommodation covered by the ADA. Id. ¶ 3. Last, Plaintiff

alleges that Defendant discriminated against her by failing provide accessibility

information to the Websites as required by § 36.302(e). Id. ¶ 8 (“Defendant has

failed to provide [the Websites] with the information required . . . to identify or


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allow for booking of accessible rooms or post sufficient information about

accessibility at [the Property] . . . .”); see Strojnik v. Kapalua Land Company LTD,

No. 19-00077 SOM-KJM, 2019 WL 4685412, at *4–5 (D. Haw. Aug. 26, 2019)

(explaining that places of lodging using third-party booking services must

provide accessibility information to those third-party services in order to comply

with § 36.302(e)(1)). Because Defendant is deemed to have admitted these

allegations, the Court finds that Plaintiff has sufficiently pled the elements of her

ADA claim. Nishimatsu Const. Co., 515 F.2d at 1206.

      However, to the extent Plaintiff asserts that Defendant is responsible for

the Websites’ failure to publish accessibility information on their own platforms,

the Court finds that these allegations are not well-pleaded. The Websites are

third-party booking services and are not named as defendants in this lawsuit. See

generally Dkt. No. [19]. While Plaintiff has properly alleged that Defendant failed

to provide accessibility information to the Websites, Plaintiff has not alleged that

Defendant has any control over what the Websites publish on their platforms in

the event that they were to receive Defendant’s accessibility information. See id.

Indeed, in promulgating guidance on § 36.302(e), the Department of Justice has

explicitly noted that places of lodging will not be responsible for failures of third-

party services to provide accessibility information to people with disabilities in

accordance with § 36.302(e)(1) if the place of lodging gave that information to the

third party. See 28 C.F.R. Pt. 36, App. A. For these reasons, Plaintiff has not

alleged sufficient facts to hold Defendant liable for the Websites’ own violations.


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See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“A claim has facial plausibility

when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”).

Rather, Plaintiff has alleged sufficiently facts only to hold Defendant liable for its

failure to provide the Websites with its accessibility information.

             B.     Damages

      Plaintiff seeks injunctive relief to require Defendant to comply with the

provisions of § 36.302(e). Dkt. No. [25] at 5. Pursuant to 42 U.S.C. § 12188(2),

the Court may grant “any equitable relief that [it] considers to be appropriate,”

including injunctive relief, to remedy a violation of Title III. Further, in a default

judgment setting, injunctive relief is available. See Petmed Express, Inc. v.

Medpots.com, 336 F. Supp. 2d 1213, 1222–23 (S.D. Fla. 2004). Accordingly,

Plaintiff’s Motion for Default Judgment [25] is GRANTED. Defendant is

ORDERED to comply with § 36.302(e) by providing the Websites with the

required accessibility information within ninety (90) days of the entry of this

Order, and to thereafter remain in compliance with § 36.302(e).

             C. Attorney’s Fees, Costs, and Litigation Expenses

      Plaintiff also requests an award of attorney’s fees, costs, and litigation

expenses pursuant to 42 U.S.C. § 12205. Dkt. No. [25] at 6. As the prevailing

party, Plaintiff is entitled to such recovery. See 42 U.S.C. § 12205. Accordingly,

the Court GRANTS Plaintiff’s request for attorney’s fees, costs, and litigation

expenses. Plaintiff is DIRECTED to submit to the Court an itemized accounting


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of all attorney’s fees, costs, and litigation expenses, as well as an affidavit in

support of her request, within twenty-one (21) days of this Order.

IV.   CONCLUSION

      For the foregoing reasons, Plaintiff’s Motion for Default Judgment [25] is

GRANTED. Defendant is ORDERED to comply with § 36.302(e) by providing

the Websites with the required accessibility information within ninety (90)

days of the entry of this Order, and to thereafter remain in compliance with

§ 36.302(e). Plaintiff’s request for attorney’s fees, costs, and litigation expenses is

GRANTED, and Plaintiff is DIRECTED to submit to the Court an itemized

accounting of all attorney’s fees, costs, and litigation expenses, as well as an

affidavit in support of her request, within twenty-one (21) days of this Order.

The Clerk is DIRECTED to resubmit this matter to the undersigned on February

11, 2021.

      IT IS SO ORDERED this 20th
                            ___ day of January, 2021.


                                         _____________________________
                                         Leigh Martin May
                                         United States District Judge




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